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Attorneys for Proposed Amicus Curiae Naqsragmiut Tribal Council

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

SOVEREIGN IÑUPIAT FOR A LIVING ARCTIC,
et al.,

                           Plaintiffs,
     v.
BUREAU OF LAND MANAGEMENT, et                       Case No. 3:23-cv-00058-SLG
al.,

                           Defendants,
       and

CONOCOPHILLIPS ALASKA, INC.,

                            Intervenor-Defendant.


   NOTICE OF WITHDRAWAL OF NAQSRAGMIUT TRIBAL COUNCIL’S
        MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF




SILA et al. v. BLM et al., Case No. 3:23-cv-00058-SLG
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       On July 28, 2023, the Naqsragmiut Tribal Council filed a Motion for Leave to File

Amicus Curiae in this matter, Docket # 114. The Naqsragmiut Tribal Council now files

this Notice to inform the Court that the Council is withdrawing its previously filed

Motion for Leave to File Amicus Curiae.

       Respectfully submitted this 7th day of August, 2023.


                                           /s/ Sarah McMillan
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                             CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2023, a copy of the foregoing was served by

electronic means on all counsel of record by the Court’s CM/ECF system.

                                                  /s/ Sarah McMillan




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                                             3

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